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                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO. 14-22130-Civ-COOKE
                                                (03-20483-Cr-COOKE)
                                        MAGISTRATE JUDGE P.A. WHITE

  ANDRE DOUGAN,                     :

        Movant,                     :

  v.                                :               REPORT OF
                                                 MAGISTRATE JUDGE
  UNITED STATES OF AMERICA,         :

        Respondent.                 :



                              I.    Introduction


        Andre Dougan, a federal prisoner, has filed a pro se motion to
  vacate    pursuant     to    28       U.S.C.     §2255,   challenging   the
  constitutionality of his convictions and sentences for various drug
  charges, entered following a jury verdict in criminal case number
  03-20483-Cr-Cooke.


        This case has now been referred to the undersigned for
  consideration and report pursuant to 28 U.S.C. §636(b)(1)(B) and
  Rule 8(b) of the Rules Governing Section 2255 Proceedings in the
  United States District Courts.


        No order to show cause has been issued because, on the face of
  the amended motion, it is evident movant is entitled to no relief.
  See Rule 4(b), Rules Governing Section 2255 Proceedings (“If it
  plainly appears from the motion, any attached exhibits, and the
  record of prior proceedings that the moving party is not entitled
  to relief, the judge must dismiss the motion and direct the clerk
  to notify the moving party.”).
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        For its consideration of the movant’s initial motion (Cv-
  DE#1), the Court has the Presentence Investigation Report, (“PSI”),
  the Court’s Statement of Reasons (“SOR”), as well as, all relevant
  portions of the underlying criminal case under attack here.


                                 II.   Claims


        Construing movant’s arguments liberally as afforded pro se
  litigants pursuant to Haines v. Kerner, 404 U.S. 519 (1972), the
  movant challenges his sentence pursuant to the recent Supreme Court
  opinions in Alleyne v. United States, 570 U.S. __, 133 S.Ct. 2151,
  186 L.Ed.2d 314 (2013) and Descamps v. United States, __ U.S. __,
  133 S.Ct. 2276, 186 L.Ed.2d 438 (2013).



                          III.   Procedural History


        The movant was charged with and convicted of conspiracy to
  import cocaine, conspiracy to possess with intent to distribute
  cocaine, importation of cocaine, and possession of cocaine with
  intent to distribute. (Cr-DEs#59,532).


        On May 4, 2004, movant appeared for sentencing, at which time
  the Court sentenced him to life in prison, followed by ten years of
  supervised release. (Cr-DEs#531,532). The amended judgment was
  entered on the docket by the Clerk of Court on May 12, 2004. (Cr-
  DE#542). No direct appeal was filed. (Cv-DE#1:3).


        Consequently, the convictions became final at the latest on
  May 26, 2004, ten days after the entry of the judgment, when time




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  expired for filing a notice of appeal.1 Thus, the movant had one
  year from the time his conviction became final, or no later than
  May 26, 2005,2 within which to timely file this federal habeas
  petition. See Griffith v. Kentucky, 479 U.S. 314, 321, n.6 (1986);
  see also, See Downs v. McNeil, 520 F.3d 1311, 1318 (11th Cir.
  2008)(citing     Ferreira v. Sec’y, Dep’t of Corr’s, 494 F.3d 1286,
  1289 n.1 (11th Cir. 2007)(this Court has suggested that the
  limitations     period    should     be       calculated   according   to    the
  “anniversary method,” under which the limitations period expires on
  the anniversary of the date it began to run); accord United States
  v. Hurst, 322 F.3d 1256, 1260-61 (10th Cir. 2003); United States v.
  Marcello, 212 F.3d 1005, 1008-09 (7th Cir. 2000)). Applying the
  anniversary method to this case means petitioner’s limitations
  period expired on May 26, 2005.


        A little over 10 years after his conviction became final,
  movant filed the instant §2255 motion on June 4, 2014.3 (Cv-DE#1).

        1
         Where, as here, a defendant does not pursue a direct appeal, his
  conviction becomes final when the time for filing a direct appeal expires. Adams
  v. United States, 173 F.3d 1339, 1342 n.2 (11th Cir. 1999). On December 1, 2009,
  the time for filing a direct appeal was increased from 10 to 14 days days after
  the judgment or order being appealed is entered. Fed.R.App.P. 4(b)(1)(A)(i). The
  judgment is “entered” when it is entered on the docket by the Clerk of Court.
  Fed.R.App.P. 4(b)(6). Moreover, now every day, including intermediate Saturdays,
  Sundays, and legal holidays are included in the computation. See Fed.R.App.P.
  26(a)(1). However, since movant was sentenced prior to the effective date of the
  amendment, he had ten business days, excluding intermediate Saturdays and
  Sundays, within which to file his notice of appeal. See Fed.R.App.P. 26(a)(1)(B).
        2
         See Downs v. McNeil, 520 F.3d 1311, 1318 (11th Cir. 2008)(citing Ferreira
  v. Sec'y, Dep't of Corr’s, 494 F.3d 1286, 1289 n.1 (11th Cir. 2007)(this Court
  has suggested that the limitations period should be calculated according to the
  “anniversary method,” under which the limitations period expires on the
  anniversary of the date it began to run); accord United States v. Hurst, 322 F.3d
  1256, 1260-61 (10th Cir. 2003); United States v. Marcello, 212 F.3d 1005, 1008-09
  (7th Cir. 2000)); see also, 28 U.S.C. §2255.
        3
         Under the prison mailbox rule, a pro se prisoner’s court filing is deemed
  filed on the date it is delivered to prison authorities for mailing. Williams v.
  McNeil, 557 F.3d 1287, 1290 n.2 (11th Cir. 2009); see Fed.R.App. 4(c)(1)(“If an
  inmate confined in an institution files a notice of appeal in either a civil or
  a criminal case, the notice is timely if it is deposited in the institution’s

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                            IV.    Standard of Review


        Pursuant to 28 U.S.C. §2255, a prisoner in federal custody may
  move the court which imposed sentence to vacate, set aside or
  correct the sentence if it was imposed in violation of federal
  constitutional     or   statutory      law,    was    imposed     without   proper
  jurisdiction, is in excess of the maximum authorized by law, or is
  otherwise    subject    to   collateral       attack.   28   U.S.C.    §2255.   In
  determining whether to vacate a movant’s sentence, a district court
  must first determine whether a movant’s claim is cognizable under
  Section 2255. See Lynn v. United States, 365 F.3d 1225, 1232-33
  (11th Cir. 2004)(stating that a determination of whether a claimed
  error is cognizable in a Section 2255 proceeding is a “threshold
  inquiry”), cert. denied, 543 U.S. 891, 125 S. Ct. 167, 160 L. Ed.
  2d 154 (2004). It is well-established that a Section 2255 motion
  may not be a substitute for a direct appeal. Id. at 1232 (citing
  United States v. Frady, 456 U.S. 152, 165, 102 S. Ct. 1584, 1593,
  71 L.Ed.2d 816 (1982)).


        The Eleventh Circuit promulgated a two-part inquiry that a
  district court must consider before determining whether a movant’s
  claim is cognizable. First, a district court must find that “a
  defendant assert[ed] all available claims on direct appeal.” Id.
  (citing Mills v. United States, 36 F.3d 1052, 1055 (11th Cir.
  1994). Second, a district court must consider whether the type of
  relief the movant seeks is appropriate under Section 2255. This is
  because     “[r]elief    under    28    U.S.C.       §2255   is    reserved     for

  internal mail system on or before the last day for filing.”). Unless there is
  evidence to the contrary, like prison logs or other records, a prisoner’s motion
  is deemed delivered to prison authorities on the day he signed it. See Washington
  v. United States, 243 F.3d 1299, 1301 (11th Cir. 2001); See Adams v. United
  States, 173 F.3d 1339 (11th Cir. 1999) (prisoner’s pleading is deemed filed when
  executed and delivered to prison authorities for mailing).

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  transgressions of constitutional rights and for that narrow compass
  of other injury that could not have been raised in direct appeal
  and would, if condoned, result in a complete miscarriage of
  justice.” Id. at 1232-33 (quoting Richards v. United States, 83
  F.2d 965, 966 (11th Cir. 1988)(internal quotations omitted)). If a
  court finds a claim under Section 2255 to be valid, the court
  “shall vacate and set the judgment aside and shall discharge the
  prisoner or resentence him or grant a new trial or correct the
  sentence as may appear appropriate.” 28 U.S.C. §2255. To obtain
  this relief on collateral review, a petitioner must “clear a
  significantly higher hurdle than would exist on direct appeal.”
  Frady, 456 U.S. at 166, 102 S.Ct. at 1584 (rejecting the plain
  error     standard   as   not   sufficiently   deferential   to   a   final
  judgment).


          Under Section 2255, unless “the motion and the files and
  records of the case conclusively show that the prisoner is entitled
  to no relief,” the court shall “grant a prompt hearing thereon,
  determine the issues and make findings of fact and conclusions of
  law with respect thereto.” However, “if the record refutes the
  applicant’s factual allegations or otherwise precludes habeas
  relief, a district court is not required to hold an evidentiary
  hearing.” Schriro v. Landrigan, 550 U.S. 465, 474, 127 S.Ct. 1933,
  167 L.Ed.2d 836 (2007). See also Aron v. United States, 291 F.3d
  708, 715 (11th Cir. 2002)(explaining that no evidentiary hearing is
  needed when a petitioner’s claims are “affirmatively contradicted
  by the record” or “patently frivolous”). As indicated by the
  discussion below, the motion and the files and records of the case
  conclusively show that movant is entitled to no relief, therefore,
  no evidentiary hearing is warranted.


          In addition, the party challenging the sentence has the burden


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  of showing that it is unreasonable in light of the record and the
  §3553(a) factors. United States v. Talley, 431 F.3d 784, 788 (11th
  Cir. 2005). The Eleventh Circuit recognizes “that there is a range
  of reasonable sentences from which the district court may choose,”
  and ordinarily expect a sentence within the defendant's advisory
  guideline range to be reasonable. Id.


                         V. Discussion - Timeliness


        The Anti-Terrorism and Effective Death Penalty Act (“AEDPA”)
  created a limitation for a motion to vacate. Pursuant to 28 U.S.C.
  §2255(f),   as    amended   April   24,   1996,   a   one   year   period   of
  limitations applies to a motion under the section. The one year
  period runs from the latest of:



              (1)   The date on which the judgment became
                    final by the conclusion of direct review
                    or the expiration of the time for seeking
                    such review;

              (2)   The date on which the impediment to
                    making a motion created by governmental
                    action in violation of the Constitution
                    or laws of the United States is removed,
                    if the movant is prevented from filing by
                    such governmental action;

              (3)   The date on which the constitutional
                    right asserted was initially recognized
                    by the Supreme Court, if that right has
                    been newly recognized by the Supreme
                    Court and made retroactively applicable
                    to cases on collateral review; or

              (4)   The date on which the facts supporting
                    the claim or claims could have been
                    discovered through the exercise of due
                    diligence.



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  See 28 U.S.C. §2255(f); see also, Pruitt v. United States, 274 F.3d
  1315, 1317 (11th Cir. 2001). The burden of demonstrating that the
  AEDPA’s one-year limitation period was sufficiently tolled, whether
  statutorily or equitably, rests with the movant. See e.g., Pace v.
  DiGuglielmo, 544 U.S. 408, 418 (2005); Gaston v. Palmer, 417 F.3d
  1030, 1034 (9th Cir. 2005); Smith v. Duncan, 297 F.3d 809, 814 (9th
  Cir. 2002); Miranda v. Castro, 292 F.3d 1063, 1065 (9th Cir. 2002).


        As will be recalled, movant’s conviction became final on May
  26, 2004, ten days after the entry of the judgment, when time
  expired for filing a notice of appeal. For purposes of the AEDPA’s
  one-year federal limitations period, the movant was required to
  file this motion to vacate within one year from the time the
  judgment became final, or no later than May 26, 2005. See Griffith
  v. Kentucky, 479 U.S. 314, 321, n.6 (1986); see also, See Downs v.
  McNeil, 520 F.3d 1311, 1318 (11th Cir. 2008)(citing               Ferreira v.
  Sec'y,   Dep't   of   Corr’s,   494   F.3d   1286,   1289   n.1   (11th   Cir.
  2007)(this Court has suggested that the limitations period should
  be calculated according to the “anniversary method,” under which
  the limitations period expires on the anniversary of the date it
  began to run); accord United States v. Hurst, 322 F.3d 1256,
  1260-61 (10th Cir. 2003); United States v. Marcello, 212 F.3d 1005,
  1008-09 (7th Cir. 2000)). Pursuant to the mailbox rule, movant’s
  motion was not filed until June 4, 2014, over 10 years after
  movant’s conviction became final, and over 9 years after the one-
  year federal limitations expired. Consequently, movant is not
  entitled to statutory tolling of the limitations period.


        Movant attempts to circumvent the limitations period, by
  arguing that the limitations period should commence to run from the



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  Supreme Court’s June 17, 2013 decision in Alleyne, supra4 and the
  Court’s June 20, 2013 decision in Descamps, supra. Movant claims
  these decisions are retroactively applicable to cases on collateral
  review, and therefore his federal limitations period starts to run
  from the date it was issued by the Supreme Court.


          However, the decision in Alleyne merely extended the rationale
  of Apprendi, which itself noted that the Sixth Amendment did not
  require “the fact of a prior conviction” to be submitted to a jury
  and proved beyond a reasonable doubt. See Starks v. FCC Coleman USP
  I, ___ F.3d. ___, 2013 WL 6670797 (11th Cir. 2113)(unpublished)
  (citing Apprendi, 530 U.S. at 490, 120 S.Ct. at 2362–63 (“Other
  than the fact of a prior conviction, any fact that increases the
  penalty for a crime beyond the prescribed statutory maximum must be
  submitted to a jury, and proved beyond a reasonable doubt.”)); see
  also Almendarez–Torrez v. United States, 523 U.S. 224, 247, 118
  S.Ct.    1219,   1233,   140   L.Ed.2d     350   (1998)(holding     that,    for
  sentencing enhancement purposes, a defendant’s prior conviction
  need not be alleged in the indictment or submitted to the jury and
  proved beyond a reasonable doubt).


          In fact, the Alleyne Court explicitly stated that it was not


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          In Alleyne, the Supreme Court overruled its prior precedent in Harris v.
  United States, 536 U.S. 545, 122 S.Ct. 2406, 153 L.Ed.2d 524 (2002). Harris had
  held     that   “brandishing”   a   firearm   for    purposes   of    18   U.S.C.
  §924(c)(1)(A)(ii)—which triggered an increased mandatory minimum sentence—was a
  sentencing factor, rather than an element of the crime, which a judge could find
  at sentencing without violating the defendant's Sixth Amendment rights. Harris,
  536 U.S. at 556, 568, 112 S.Ct. at 2414, 2420. In Alleyne, the Supreme Court
  concluded that “Harris drew a distinction between facts that increase the
  statutory maximum and facts that increase only the mandatory minimum,” but “this
  distinction is inconsistent with our decision in Apprendi v. New Jersey, 530 U.S.
  446, 120 S.Ct. 2348, 147 L.Ed.2d 435 (2000), and with the original meaning of the
  Sixth Amendment.” Alleyne, 570 U.S. at ___, 133 S.Ct. at 2155. Thus, the Supreme
  Court in Alleyne held that any fact that increases a defendant's mandatory
  minimum sentence is an element of the crime that must be found by a jury. See Id.
  at ___, 133 S.Ct. at 2155.


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  revisiting “the narrow exception to this general rule for the fact
  of a prior conviction.” Alleyne, 570 U.S. at ____, 133 S.Ct. at
  2160 n.1. Apprendi was found not to be retroactively applicable to
  cases on collateral review.


          Likewise, Descamps follows a line of Supreme Court decisions
  establishing the rules for determining when a defendant’s prior
  conviction qualifies as one of the enumerated predicate offenses
  set   forth     in    the   Armed   Career     Criminal     Act,   18    U.S.C.   §924
  (“ACCA”). In Taylor v. United States, 495 U.S. 575, 110 S.Ct. 2143,
  109 L.Ed.2d 607 (1990), the Supreme Court adopted a “categorical
  approach,” requiring sentencing courts to look at the statutory
  elements      of     the    defendant’s    prior      offenses,    not    the     facts
  underlying those convictions. See Descamps, 133 S.Ct. At 2283-84
  (discussing Taylor). The Court’s Taylor decision also developed the
  “modified categorical approach,” which allows sentencing courts to
  look beyond the statutory elements to “the charging paper and jury
  instructions” used in a case where the defendant’s prior conviction
  is for violating a “divisible statute.” Descamps, 133 S.Ct. at
  2282-85 (discussing Taylor and Shepard v. United States, 544 U.S.
  13, 125 S.Ct. 1254, 161 L.Ed.2d 205 (2005)).


          In Descamps, the Supreme Court determined that the California
  burglary statute is nondivisible and therefore the district court
  could     not      apply    the   modified      categorical    approach      to     the
  defendant’s California burglary conviction. Id. at 2285-86.


          Recently, the Eleventh Circuit had determined that Alleyne, an
  extension of Apprendi, is also not retroactively applicable to
  cases on collateral review. Starks, supra; see also, Chester v.
  Warden,     ___       Fed.Appx.     ___,       2014    WL   104150       (11th     Cir.
  2014)(unpublished)(citing, Dohrmann v. United States, 442 F.3d


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   1279, 1281-82 (11th Cir. 2006); McCoy v. United States, 266 F.3d
   1245, 1256–58 (11th        Cir. 2001)(holding that Apprendi is not
   retroactively applicable to cases on collateral review)).


        Other courts who have considered the issue have also held that
   Alleyne has not been made retroactively applicable to cases on
   collateral review. See In re Payne, No. 13–5103, 2013 WL 5200425,
   at *1–*2 (10th Cir. Sept. 17, 2013) (agreeing with the Seventh
   Circuit that Alleyne is an extension of Apprendi and does not apply
   retroactively); Simpson v. United States, 721 F.3d 875, 876 (7th
   Cir. 2013) (holding that Alleyne, like Apprendi, was not made
   retroactive); Frank v. United States, Nos. CV 113–113, CR 103–045,
   2013 WL 4679826, at *3 n. 1 (S.D.Ga. Aug. 30, 2013) (“The Court is
   not aware of any authority indicating that Alleyne is retroactively
   applicable, and the case itself provides no such indication.”);
   Ward v. United States, No. 1:02–cr–00063–MR–1, 2013 WL 4079267, at
   *2 (W.D.N.C. Aug. 13, 2013) (finding that petitioner's motion was
   untimely and §2255(f)(3) did not apply because the Supreme Court
   has not found that Alleyne is retroactive to cases on collateral
   review); Luney v. Quintana, No. 6:13–003–DCR, 2013 WL 3779172, at
   *3 (E.D.Ky. July 18, 2013) (noting that “there is no indication in
   ... Alleyne, that the Supreme Court made [that] holding retroactive
   to cases on collateral review.”).


        Likewise, Descamps has not been made retroactively applicable
   to cases on collateral review. United States v. Boykin, 2014 WL
   2459721 (N.D. Fla. 2014); Johnson v. United States, 2014 WL 2215772
   (M.D. Fla. 2014); see also United States v. Chapman, __ F.Supp.2d
   __, 2014 WL 1931814 (S.D. Tex. 2014)(“While no circuit court has
   addressed   the   issue,   the   district   courts   that   have   done   so
   consistently hold that Descamps does not apply retroactively to
   cases on collateral review.”)(citations omitted); Harr v. United


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   States, 2014 WL 1674085 (C.D. Ill. 2014)(“Descamps did not announce
   a new rule, but rather reaffirmed existing Supreme Court precedent
   while rejecting the Ninth Circuit Court of Appeal’s departure from
   established Supreme Court caselaw.”).


        Consequently, a movant’s belated realization of the purported
   legal significance of the facts does not delay commencement of the
   limitations period. As indicated above, movant appears to be
   improperly confusing his knowledge of the factual predicate of his
   claims with the time permitted for gathering evidence and/or
   additional legal support thereof. See Flanagan v. Johnson, 154 F.3d
   196, 198-99 (5th Cir. 1998). See also Worthen v. Kaiser, 952 F.2d
   1266, 1268-68 (10th Cir. 1992)(holding that habeas petitioner’s
   failure to discover the legal significance of the operative facts
   does not constitute cause).


        Finally, movant has not demonstrated that any unconstitutional
   government action prevented him from timely filing the instant
   §2255. See 28 U.S.C. §2255(f)(2).


        Although movant’s section 2255 motion is clearly untimely
   under §2255(f)(1)-(3), this does not, however, end the inquiry. In
   certain instances, the limitation period may run from the date on
   which the factual predicate of the claim or claims presented could
   have been discovered through the exercise of due diligence. 28
   U.S.C. §2255(f)(4). Owens v. Boyd, 235 F.3d 356, 359 (7th Cir.
   2000).   See also Shannon v. Newland, 410 F.3d 1083, 1089 (9th Cir.
   2005)(holding    that   an   unrelated   state   court   decision    which
   established an abstract proposition of law helpful to petitioner's
   habeas claim did not constitute a “factual predicate” for purposes
   of triggering one-year period of limitations). In other words, the
   discovery of a new legal theory does not constitute a discoverable


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   “fact” for purposes of §2255(f)(4). See Barreto–Barreto, 551 F.3d
   at 99 n.4 (finding that discovery of new legal theory does not
   constitute discoverable “fact” for purposes of §2255(f)(4)); Owens
   v. Boyd, 235 F.3d at 359.


        Here, the movant does not assert new facts to establish his
   claim. Rather, movant suggests that the legal landscape regarding
   the issue has changed in light of the Supreme Court’s recent
   decisions in Alleyne and Descamps. However, the discovery of a new
   legal theory does not constitute a discoverabele fact for purposes
   of §2255(f).


        Movant is also not entitled to equitable tolling of the
   limitations period. The United States Supreme Court has held that
   the one-year limitations period is subject to equitable tolling in
   appropriate cases.      See Holland v. Florida, 560 U.S.             , 130 S.Ct.
   2549 (2010). The burden is on the petitioner to demonstrate that he
   is entitled to the extraordinary relief of equitable tolling.
   Holland, 130 S.Ct. at 2562. See also Outler v. United States, 485
   F.3d 1273, 1280 (11th Cir. 2007). A litigant seeking equitable
   tolling bears the burden of establishing two elements: (1) that
   he/she has been pursuing his rights diligently, and (2) that some
   extraordinary      circumstance    stood       in   his/her   way.     Pace    v.
   DiGuglielmo, 544 U.S. 408, 418-19 (2005)(citing Irwin v. Department
   of Veterans Affairs, 498 U.S. 89, 96 (1990). See also Diaz v.
   Secretary    for   Dept.   of   Corr.,   362    F.3d   698,   702    (11th    Cir.
   2004)(characterizing the equitable-tolling standard as a two-part
   test, stating that “equitable tolling is available only if a
   petitioner establishes both extraordinary circumstances and due
   diligence.”(emphasis supplied)).


        As     discussed   previously,      movant     does   not      provide   any

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   explanation why he waited over nine years to file his first §2255
   motion. He is now attempting to circumvent the limitations period
   by challenging his convictions and sentences in light of the recent
   Supreme Court Alleyne and Descamps decisions. However, as noted
   above, these decisions are not retroactively applicable to cases on
   collateral    review.     Consequently,        the   filing    of    this   federal
   petition remains time-barred.


         Next, to the extent movant suggests that he is an unskilled
   layperson who has limited knowledge of the law and is, therefore,
   entitled to liberal treatment, this argument also warrants no
   relief.5 Mere ignorance of the law or lack of knowledge of filing
   deadlines does not justify equitable tolling of AEDPA's limitation
   period. See Johnson v. United States, 544 U.S. 295, 311, 125 S.Ct.
   1571, 1582 (2005)(stating that “the Court has never accepted pro se
   representation alone or procedural ignorance as an excuse for
   prolonged inattention when a statute’s clear policy calls for
   promptness.”). See also Rivers v. United States, 416 F.3d at 1323
   (holding that while movant’s lack of education may have delayed his
   efforts to vacate his state conviction, his procedural ignorance is
   not   an   excuse   for     prolonged     inattention     when      promptness   is
   required);    Carrasco      v.   United    States,     2011    WL   1743318,   *2-3
   (W.D.Tex. 2011)(finding that movant’s claim that he just learned of
   Padilla decision did not warrant equitable tolling, although movant
   was   incarcerated    and    was   proceeding        without   counsel,     because
   ignorance of the law does not excuse failure to timely file §2255



         5
          As correctly maintained by Movant, pro se filings are subject to less
   stringent pleading requirements, Estelle v. Gamble, 429 U.S. 97, 106 (1976), and
   should be liberally construed with a measure of tolerance. See Haines v. Kerner,
   404 U.S. 519 (1972). See also Gomez-Diaz v. United States, 433 F.3d 788, 791
   (11th Cir. 2005); Diaz v. United States, 930 F.2d 832, 834 (11th Cir. 1991).
   However, contrary to Movant’s apparent belief, the policy of liberal construction
   for pro se litigants’ pleadings does not extend to a “liberal construction” of
   the one-year limitations period.

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   motion); Felder v. Johnson, 204 F.3d 168, 172-73 & n. 10 (5th Cir.
   2000)(citing cases), cert. denied, 531 U.S. 1035 (2000)(holding
   that ignorance of law and pro se status are insufficient to toll
   statute of limitations); Turner v. Johnson, 177 F.3d 390, 392 (5th
   Cir. 1999); United States v. Flores, 981 F.2d 231, 236 (5th
   Cir.1993)(holding pro se status, illiteracy, deafness, and lack of
   legal training are not external factors excusing abuse of the
   writ); Hughes v. Idaho State Bd. of Corrections, 800 F.2d 905, 909
   (9th Cir. 1986)(illiteracy of pro se petitioner not sufficient
   cause to avoid procedural bar); Barrow v. New Orleans S.S. Ass’n,
   932 F.2d 473, 478 (5th Cir. 1991)(holding equitable tolling of
   limitations period within the Age Discrimination in Employment Act
   was not warranted by plaintiff’s unfamiliarity with legal process,
   his lack of representation, or his ignorance of his legal rights).


        Under the totality of the circumstances present here, the
   movant’s    dilatory    behavior    cannot   qualify     him   for   equitable
   tolling. As a result of movant’s failure to diligently pursue his
   rights,    he   has   failed   to   demonstrate   that    he   qualifies   for
   equitable or statutory tolling. Consequently, this §2255 motion
   should be dismissed as time-barred.


                            VI.   Evidentiary Hearing


        To the extent movant requests an evidentiary hearing, it
   should be denied. The movant has the burden of establishing the
   need for an evidentiary hearing, and he would only be entitled to
   a hearing if his allegations, if proved, would establish his right
   to collateral relief. See Townsend v. Sain, 372 U.S. 293, 307
   (1963). No such showing has been made here. See Holmes v. United
   States, 876 F.2d 1545, 1553 (11th Cir. 1989), citing, Guerra v.
   United States, 588 F.2d 519, 520-21 (5th Cir. 1979).


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                      VII.    Certificate of Appealability


          As amended effective December 1, 2009, §2255 Rule 11(a)
   provides    that   “[t]he     district        court   must   issue   or     deny   a
   certificate of appealability (“COA”) when it enters a final order
   adverse to the applicant,” and if a certificate is issued “the
   court must state the specific issue or issues that satisfy the
   showing required by 28 U.S.C. §2253(c)(2).” See Rule 11(a), Rules
   Governing Section 2255 Proceedings for the United States District
   Courts. A §2255 movant “cannot take an appeal unless a circuit
   justice or a circuit or district judge issues a certificate of
   appealability under 28 U.S.C. §2253(c).” See Fed.R.App.P. 22(b)(1).
   Regardless, a timely notice of appeal must still be filed, even if
   the court issues a certificate of appealability. See 28 U.S.C.
   §2255 Rule 11(b).


          However, “[A] certificate of appealability may issue ... only
   if the applicant has made a substantial showing of the denial of a
   constitutional     right.”    See   28    U.S.C.      §2253(c)(2).     To   make   a
   substantial showing of the denial of a constitutional right, a
   §2255 movant must demonstrate “that reasonable jurists could debate
   whether (or, for that matter, agree that) the petition should have
   been resolved in a different manner or that the issues presented
   were   adequate    to     deserve   encouragement       to   proceed    further.”
   Miller–El v. Cockrell, 537 U.S. 322, 336-37 (2003) (citations and
   quotation marks omitted); see also Slack v. McDaniel, 529 U.S. 473,
   484 (2000); Eagle v. Linahan, 279 F.3d 926, 935 (11th Cir. 2001).
   After review of the record in this case, the Court finds the movant
   has not demonstrated that he has been denied a constitutional right
   or that the issue is reasonably debatable. See Slack, 529 U.S. at
   485; Edwards v. United States, 114 F.3d 1083, 1084 (11th Cir.
   1997). Consequently, issuance of a certificate of appealability is


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   not warranted and should be denied in this case. Notwithstanding,
   if    movant does not agree, he may bring this argument to the
   attention of the district judge in objections.


                                VIII.   Conclusion


         Based on the foregoing, it is recommended as follows: (1) the
   motion    to   vacate   be   dismissed    as   time-barred;   (2)   that   no
   certificate of appealability issue; and, (3) that the case be
   closed.


         Objections to this report may be filed with the District Judge
   within fourteen days of receipt of a copy of the report.


         SIGNED this 12th day of June, 2014.




                                             UNITED STATES MAGISTRATE JUDGE


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